                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


YVONNA BROWN                                     )
                                                 )
v.                                               )           NO. 3:11-0146
                                                 )           JUDGE SHARP
CASH TECHNOLOGIES OF AMERICA,                    )
CORP., ET AL.                                    )


                                             ORDER


       The Court having been advised by counsel for the parties that this action has been settled,

it is hereby ORDERED that the action is dismissed without prejudice to the right, upon good cause

shown within sixty (60) days, to reopen the action if the settlement is not consummated. Within this

sixty-day period, the parties may submit a proposed agreed order of compromise and dismissal.

       It is so ORDERED.




                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




     Case 3:11-cv-00146 Document 49 Filed 08/16/12 Page 1 of 1 PageID #: 302
